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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
11380 SMITH RD LLC                          )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                              )      Chapter 11
                                            )
Debtor.                                     )


     ORDER AUTHORIZING EMPLOYMENT OF CBRE, INC. AS BROKERAGE FIRM
                           FOR THE ESTATE

      THIS MATTER is before the Court on the "Amended Application to Employ
CBRE, Inc. as Brokerage Firm for the Estate" (Docket No. 74, the "Amended
Application"). The Debtor asserts it has provided proper notice of its Amended
Application and no objection has been filed. Accordingly, the Court, having reviewed
the Debtor’s Application, the accompanying Exhibits attached thereto and its file with
respect to this matter:

              HEREBY FINDS that based on the representations made in the
Amended Application, which are uncontested, cause exists for granting the Debtor’s
Amended Application and the Debtor should be authorized to employ CBRE, Inc. as a
brokerage firm for the Debtor.

         THEREFORE, THE COURT ORDERS:
1.       The Debtor’s Application is granted.

2.       The Debtor is hereby authorized to employ CBRE, Inc. as brokerage firm for the
         Debtor to sell the Debtor’s Real Property located at 11380 East Smith Road, Aurora,
         CO 80010.

3.       The Debtor is hereby authorized to pay a sales commission of 5% as more fully
         described in the Listing Contract attached to the Debtor’s Application as Exhibit “A”
         and to reimburse CBRE, Inc. for its expenses relating thereto upon application to
         and approval by this Court.

4.       The Debtor’s employment of CBRE, Inc. shall be effective as of the date of the filing
         of the Debtor’s Application to Employ.
DATED: May 14, 2018                         BY THE COURT:


                                            ________________________________
                                            Thomas B. McNamara,
                                            U.S. Bankruptcy Judge
